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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
        Plaintiff,                            )
                                              )
v.                                            )   No. S1-4:18CR0264-2 RWS
                                              )
Heather McDorman,                             )
                                              )
        Defendant.                            )




                              STATEMENT OF THE GOVERNMENT
                              REGARDING PRESENTENCE REPORT


        Comes now the United States of America, by and through its attorneys, Jeffrey B. Jensen, United

States Attorney for the Eastern District of Missouri, and Colleen Lang, Assistant United States Attorney

for said District, and pursuant to Paragraph 10 of the Administrative Order of this Court (July 19, 2006),

states that the Government accepts factual statements and guideline calculations contained in the

presentence report.



                                                  Respectfully submitted,

                                                  JEFFREY B. JENSEN
                                                  United States Attorney

                                                    s/ Colleen C. Lang
                                                  Colleen Lang , 56872MO
                                                  Assistant United States Attorney
                                                  111 S. 10th Street, Room 20.333
                                                  St. Louis, Missouri 63102
                                                  (314) 539-2200
Case: 4:18-cr-00264-RWS Doc. #: 195 Filed: 10/30/20 Page: 2 of 2 PageID #: 658




                                     CERTIFICATE OF SERVICE

I hereby certify that on 10/30/20, the foregoing was filed electronically with the Clerk of the Court to be
served by operation of the Court=s electronic filing system upon the following:

Lucy Liggett
Attorney

and

Randi Heidecker
United States Probation Officer.


                                                  s/Colleen C. Lang
                                                  Colleen C. Lang, #56782MO
                                                  Assistant United States Attorney




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